                         IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION
                             CRIMINAL DOCKET NO.: 3:01CR66

UNITED STATES OF AMERICA            )
                                    )
            vs.                     )
                                    )                                     ORDER
JAMES E. MUNSON (2),                )
                                    )
            Defendant.              )
___________________________________ )

         THIS MATTER is before the Court on Defendant’s Motion for Miscellaneous Relief,

filed July 22, 2005.1

         On May 30, 2003, a jury found Defendant guilty of conspiracy to possess with intent to

distribute marijuana, in violation of 21 U.S.C. § 846 (Count One), and conspiracy to commit

money laundering, in violation of 18 U.S.C. § 1956 (Count Two). On December 18, 2003, this

Court sentenced Defendant to 121 months imprisonment on both Count One and Count Two,

with the terms of imprisonment to run concurrently. On March 4, 2004, Defendant filed a Notice

of Appeal. On May 28, 2004, the United States Court of Appeals for the Fourth Circuit

appointed Claire Rauscher, Esq. to represent Defendant during his appeal. Subsequently, on

February 25, 2005, the Fourth Circuit substituted Jeanette Brooks, Esq. as counsel for Defendant.

         In the instant Motion, Defendant advises the Court that due to Ms. Brooks refusal to

respond to his requests, he was forced to file the instant Motion pro se. Defendant asks the Court

to release him on bail pending his appeal, to issue subpoenas, and to order Ms. Brooks to answer



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            Defendant sent a letter to the Court dated July 17, 2005. In light of the various requests contained within
the letter, the Court converted the letter to a Motion for M iscellaneous Relief, which was filed July 22, 2005.

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various questions posed by Defendant in letters sent by Defendant to his court-appointed counsel.

       On July 25, 2005, after Defendant filed the instant Motion, the Fourth Circuit Court of

Appeals relieved Ms. Brooks of her representation of Defendant and appointed Christopher

Moran, Esq. as Defendant’s attorney for purposes of his appeal. Consequently, since Defendant

is represented by new counsel, the Court finds that Defendant’s Motion for Miscellaneous Relief

is moot. Moreover, since this matter is currently on appeal to the United States Court of Appeals

for the Fourth Circuit, that Court would be the one to whom Defendant should address his

requests, and then only after he has gone over the issues fully with his new attorney, Mr. Moran.

       IT IS, THEREFORE, ORDERED that Defendant’s Motion for Miscellaneous Relief is

hereby DENIED AS MOOT.



                                                Signed: April 20, 2006




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